802 F.2d 457
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.DAMIEN GAMBINO, Plaintiff-Appellantv.DEPUTY YARBOROUGH, INSPECTOR LEVEY, OFFICER OSBORNE,Defendants-Appellees.
    No. 86-1264.
    United States Court of Appeals, Sixth Circuit.
    Aug. 12, 1986.
    
      1
      BEFORE:  JONES and MILBURN, Circuit Judges;  and CONTIE, Senior Circuit Judge
    
    ORDER
    
      2
      On April 9, 1986, this Court entered an order to show cause why this appeal should not be dismissed as being untimely filed.  Appellant has not responded to the show cause order.
    
    
      3
      It appears from the record that the final order was entered November 15, 1985.  The notice of appeal filed on March 10, 1986, was 84 days late.  Rules 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      4
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a), Federal Rules of Appellate Procedure, is a mandatory and jurisdictional prerequisite which this Court can neither waive nor extend.  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016 (6th Cir. 1983).  Rule 26(b), Federal Rules of Appellate Procedure, specifically provides that this Court cannot enlarge the time for filing a notice of appeal.
    
    
      5
      Accordingly, it is ORDERED that the appeal be and it hereby is dismissed for lack of jurisdiction.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    